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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 20-cv-22109-JB

  STATE OF ALASKA, et al.,

               Plaintiffs,

  v.

  RYDER SYSTEM, INC., et al.,

              Defendants.
  ________________________________/

               ORDER APPROVING CLASS ACTION SETTLEMENT
                  AND DISMISSING CASE WITH PREJUDICE

        WHEREAS, a securities class action is pending in this Court entitled State of

  Alaska et al. v. Ryder System, Inc. et al., Civil Action No. 1:20-cv-22109-JB (the

  “Action”);

        WHEREAS, (a) Lead Plaintiffs State of Alaska, Alaska Permanent Fund; The

  City of Fort Lauderdale General Employees’ Retirement System; and The City of

  Plantation Police Officers Pension Fund (collectively, “Lead Plaintiffs”), on behalf of

  themselves and the Settlement Class (defined below); and (b) defendants Ryder

  System, Inc. (“Ryder” or the “Company”); and Robert E. Sanchez; Art A. Garcia; and

  Dennis C. Cooke (collectively, the “Individual Defendants,” and together with Ryder,

  “Defendants,” and together with Lead Plaintiffs, the “Parties”) have entered into a

  Stipulation and Agreement of Settlement, dated May 19, 2023 (the “Stipulation”) that

  provides for a complete dismissal with prejudice of the claims asserted against
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  Defendants in the Action on the terms and conditions set forth in the Stipulation,

  subject to the approval of this Court (the “Settlement”);

        WHEREAS, unless otherwise defined in this Judgment, the capitalized terms

  herein shall have the same meaning as they have in the Stipulation;

        WHEREAS, by Order dated February 20, 2024 (the “Preliminary Approval

  Order”), this Court: (a) found, pursuant to Rule 23(e)(1)(B) of the Federal Rules of

  Civil Procedure, that it (i) would likely be able to approve the Settlement as fair,

  reasonable, and adequate under Rule 23(e)(2) and (ii) would likely be able to certify

  the Settlement Class for purposes of the Settlement; (b) ordered that notice of the

  proposed Settlement be provided to potential Settlement Class Members; and (c)

  scheduled a hearing regarding final approval of the Settlement;

        WHEREAS, due and adequate notice has been given to the Settlement Class;

        WHEREAS, the Court conducted a hearing on October 23, 2024 (the

  “Settlement Hearing”), to consider, among other things, (a) whether the terms and

  conditions of the Settlement are fair, reasonable, and adequate to the Settlement

  Class, and should therefore be approved; and (b) whether a judgment should be

  entered dismissing the Action with prejudice as against the Defendants; and

        WHEREAS, the Court having reviewed and considered the Stipulation, all

  papers filed and proceedings held herein in connection with the Settlement, all oral

  and written comments received regarding the Settlement, and the record in the

  Action, and good cause appearing therefor;

        It is ORDERED AND ADJUDGED that:




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        1.     Jurisdiction – The Court has jurisdiction over the subject matter of the

  Action, and all matters relating to the Settlement, as well as personal jurisdiction

  over all of the Parties and each of the Settlement Class Members.

        2.     Incorporation of Settlement Documents – This Judgment

  incorporates and makes a part hereof: (a) the Stipulation, filed with the Court on

  August 17, 2023; and (b) the Notice and the Summary Notice, both of which were filed

  with the Court on August 12, 2024.

        3.     Class Certification for Settlement Purposes – The Court hereby

  certifies, for the purposes of the Settlement only, the Action as a class action pursuant

  to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

  Settlement Class consisting of: all persons or entities who purchased or otherwise

  acquired publicly traded Ryder common stock during the period from July 23, 2015

  through February 13, 2020, inclusive (the “Class Period”), and were damaged

  thereby. Excluded from the Settlement Class are: (i) Defendants; (ii) the Immediate

  Family Members of any Individual Defendant; (iii) present or former Officers and

  directors of Ryder and their Immediate Family Members; (iv) any parent, subsidiary,

  or affiliate of Ryder; (v) any firm, trust, corporation, or other entity in which any

  Defendant or other excluded person or entity has, or had during the Class Period, a

  controlling interest; and (vi) the legal representatives, agents, affiliates, heirs,

  successors-in-interest, or assigns of any such excluded persons or entities. Also

  excluded from the Settlement Class are the persons and entities listed on Exhibit 1

  hereto, who or which are excluded from the Settlement Class pursuant to request.




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        4.        Settlement Class Findings – For purposes of the Settlement only, the

  Court finds that each element required for certification of the Settlement Class

  pursuant to Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the

  members of the Settlement Class are so numerous that their joinder in the Action

  would be impracticable; (b) there are questions of law and fact common to the

  Settlement Class which predominate over any individual questions; (c) the claims of

  Lead Plaintiffs in the Action are typical of the claims of the Settlement Class; (d) Lead

  Plaintiffs and Lead Counsel have and will fairly and adequately represent and protect

  the interests of the Settlement Class; and (e) a class action is superior to other

  available methods for the fair and efficient adjudication of the Action.

        5.        Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the

  purposes of the Settlement only, the Court hereby certifies Lead Plaintiffs State of

  Alaska, Alaska Permanent Fund; The City of Fort Lauderdale General Employees’

  Retirement System; and The City of Plantation Police Officers Pension Fund as Class

  Representatives for the Settlement Class and appoints Lead Counsel Bernstein

  Litowitz Berger & Grossmann LLP as Class Counsel for the Settlement Class and

  Liaison Counsel Klausner Kaufman Jensen & Levinson as Liaison Class Counsel for

  the Settlement Class. The Court finds that Lead Plaintiffs and Lead Counsel have

  fairly and adequately represented the Settlement Class both in terms of litigating the

  Action and for purposes of entering into and implementing the Settlement and have

  satisfied the requirements of Federal Rules of Civil Procedure 23(a)(4) and 23(g),

  respectively.




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        6.     Notice – The Court finds that the dissemination of the Notice and the

  publication of the Summary Notice: (a) were implemented in accordance with the

  Preliminary Approval Order; (b) constituted the best notice practicable under the

  circumstances; (c) constituted notice that was reasonably calculated, under the

  circumstances, to apprise Settlement Class Members of (i) the pendency of the Action;

  (ii) the effect of the proposed Settlement (including the Releases to be provided

  thereunder); (iii) Lead Counsel’s motion for an award of attorneys’ fees and Litigation

  Expenses; (iv) their right to object to any aspect of the Settlement, the Plan of

  Allocation, and/or Lead Counsel’s motion for attorneys’ fees and Litigation Expenses;

  (v) their right to exclude themselves from the Settlement Class; and (vi) their right

  to appear at the Settlement Hearing; (d) constituted due, adequate, and sufficient

  notice to all persons and entities entitled to receive notice of the proposed Settlement;

  and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure,

  the United States Constitution (including the Due Process Clause), the Private

  Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, et seq., as amended, and

  all other applicable law and rules. The Court also finds that the notice requirements

  set forth in the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, to the extent

  applicable to the Action, have been satisfied.

        7.     Final Settlement Approval and Dismissal of Claims – Pursuant to,

  and in accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this

  Court hereby fully and finally approves the Settlement set forth in the Stipulation in

  all respects (including, without limitation: the amount of the Settlement; the Releases




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  provided for therein; and the dismissal with prejudice of the claims asserted against

  Defendants in the Action), and finds that the Settlement is, in all respects, fair,

  reasonable, and adequate to the Settlement Class. Specifically, the Court finds that

  (a) Lead Plaintiffs and Lead Counsel have adequately represented the Settlement

  Class; (b) the Settlement was negotiated by the Parties at arm’s length involving an

  experienced mediator; (c) the relief provided under the Settlement is fair, reasonable,

  and adequate taking into account the costs, risks, and delay of litigating this action

  through discovery, summary judgment, trial, and appeal; the proposed means of

  distributing the Settlement Fund to the Settlement Class; and the proposed

  attorneys’ fee award; and (d) the Settlement treats members of the Settlement Class

  equitably relative to each other. The Parties are directed to implement, perform, and

  consummate the Settlement in accordance with the terms and provisions contained

  in the Stipulation.

        8.     The Action and all of the claims asserted against Defendants in the

  Action by Lead Plaintiffs and the other Settlement Class Members are hereby

  dismissed with prejudice. The Parties shall bear their own costs and expenses, except

  as otherwise expressly provided in the Stipulation.

        9.     Binding Effect – The terms of the Stipulation and of this Judgment

  shall be forever binding on Defendants, Lead Plaintiffs, and all other Settlement

  Class Members (regardless of whether or not any individual Settlement Class

  Member submits a Claim Form or seeks or obtains a distribution from the Net

  Settlement Fund), as well as their respective successors and assigns. The persons




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  and entities listed on Exhibit 1 hereto are excluded from the Settlement Class

  pursuant to request and are not bound by the terms of the Stipulation or this

  Judgment.

        10.    Releases – The Releases set forth in paragraphs 5 and 6 of the

  Stipulation, together with the definitions contained in paragraph 1 of the Stipulation

  relating thereto, are expressly incorporated herein in all respects. The Releases are

  effective as of the Effective Date. Accordingly, this Court orders that:

               (a)    Without further action by anyone, and subject to paragraph 11

  below, upon the Effective Date, Lead Plaintiffs and each of the other Settlement Class

  Members (whether or not such person submitted a Claim Form or shares in the Net

  Settlement Fund), on behalf of themselves, and their respective heirs, executors,

  administrators, predecessors, successors, and assigns, in their capacities as such, and

  on behalf of any other person or entity legally entitled to bring Released Plaintiffs’

  Claims on behalf of any Settlement Class Member, in their capacities as such, shall

  be deemed to have, and by operation of law and of this Judgment, shall have, fully,

  finally, and forever compromised, settled, released, resolved, relinquished, waived,

  discharged, and dismissed with prejudice each and every Released Plaintiffs’ Claim

  (including, without limitation, any Unknown Claims) against Defendants and all of

  the Defendants’ Releasees, and shall forever be barred and enjoined, to the fullest

  extent permitted by law, from asserting, commencing, instituting, maintaining,

  prosecuting, or continuing to prosecute any and all of the Released Plaintiffs’ Claims




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  against any and all of the Defendants’ Releasees in this Action or in any other

  proceeding.

                (b)   Without further action by anyone, and subject to paragraph 11

  below, upon the Effective Date, Defendants, on behalf of themselves, and their

  respective heirs, executors, administrators, predecessors, successors, and assigns, in

  their capacities as such, and on behalf of any other person or entity legally entitled

  to bring Released Defendants’ Claims on behalf of any Defendant, in their capacities

  as such, shall be deemed to have, and by operation of law and of this Judgment, shall

  have, fully, finally, and forever compromised, settled, released, resolved,

  relinquished, waived, discharged, and dismissed with prejudice each and every

  Released Defendants’ Claim (including, without limitation, any Unknown Claims)

  against Lead Plaintiffs and all of the Plaintiffs’ Releasees, and shall forever be barred

  and enjoined, to the fullest extent permitted by law, from asserting, commencing,

  instituting, maintaining, prosecuting, or continuing to prosecute any and all of the

  Released Defendants’ Claims against any and all of the Plaintiffs’ Releasees in this

  Action or in any other proceeding.

        11.     Notwithstanding paragraphs 10(a) – (b) above, nothing in this

  Judgment shall bar any action by any of the Parties to enforce or effectuate the terms

  of the Stipulation or this Judgment.

        12.     Bar Order – In accordance with 15 U.S.C. § 78u-4(f)(7)(A), any and all

  claims for contribution arising out of the Action or any of the Released Plaintiffs’

  Claims (i) by any person or entity against any Defendant, and (ii) by any Defendant




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  against any person or entity, other than as set out in 15 U.S.C. § 78u-4(f)(7)(A)(ii),

  are   hereby    permanently     barred,   extinguished,   discharged,   satisfied,   and

  unenforceable. For the avoidance of doubt, nothing in this Judgment shall apply to

  bar or otherwise affect any claim for insurance coverage by any Defendant.

        13.      Rule 11 Findings – The Court finds and concludes that the Parties and

  their respective counsel have complied in all respects with the requirements of Rule

  11 of the Federal Rules of Civil Procedure in connection with the institution,

  prosecution, defense, and settlement of the Action.

        14.      No Admissions – Neither this Judgment, the Stipulation (whether or

  not consummated), including the exhibits thereto and the Plan of Allocation

  contained therein (or any other plan of allocation that may be approved by the Court),

  the negotiations leading to the execution of the Stipulation and the Settlement, nor

  any proceedings, communications, drafts, documents, or agreements taken pursuant

  to or in connection with the Stipulation and/or approval of the Settlement (including

  any arguments proffered in connection therewith):

                 (a) shall be offered against any of the Defendants’ Releasees as evidence

  of, or construed as, or deemed to be evidence of any presumption, concession, or

  admission by any of the Defendants’ Releasees with respect to the truth of any fact

  alleged by Lead Plaintiffs or the validity of any claim that was or could have been

  asserted or the deficiency of any defense that has been or could have been asserted in

  this Action or in any other litigation, or of any liability, negligence, fault, or other

  wrongdoing of any kind of any of the Defendants’ Releasees, or in any way referred




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   to for any other reason as against any of the Defendants’ Releasees, in any arbitration

   proceeding or other civil, criminal, or administrative action or proceeding, other than

   such proceedings as may be necessary to effectuate the provisions of the Stipulation;

                 (b) shall be offered against any of the Plaintiffs’ Releasees as evidence

   of, or construed as, or deemed to be evidence of any presumption, concession, or

   admission by any of the Plaintiffs’ Releasees that any of their claims are without

   merit, that any of the Defendants’ Releasees had meritorious defenses, or that

   damages recoverable under the Complaint would not have exceeded the Settlement

   Amount, or with respect to any liability, negligence, fault, or wrongdoing of any kind,

   or in any way referred to for any other reason as against any of the Plaintiffs’

   Releasees, in any arbitration proceeding or other civil, criminal, or administrative

   action or proceeding, other than such proceedings as may be necessary to effectuate

   the provisions of the Stipulation; or

                 (c) shall be construed against any of the Releasees as an admission,

   concession, or presumption that the consideration to be given under the Stipulation

   represents the amount which could be or would have been recovered after trial;

   provided, however, that the Parties and the Releasees and their respective counsel

   may refer to this Judgment and the Stipulation to effectuate the protections from

   liability granted hereunder and thereunder or otherwise to enforce the terms of the

   Settlement.

         15.     Retention of Jurisdiction – Without affecting the finality of this

   Judgment in any way, this Court retains continuing and exclusive jurisdiction over:




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   (a) the Parties for purposes of the administration, interpretation, implementation,

   and enforcement of the Settlement; (b) the disposition of the Settlement Fund; (c) any

   motion for an award of attorneys’ fees and/or Litigation Expenses by Lead Counsel in

   the Action that will be paid from the Settlement Fund; (d) any motion to approve the

   Plan of Allocation; (e) any motion to approve the Class Distribution Order; and (f) the

   Settlement Class Members for all matters relating to the Action.

         16.    Separate orders shall be entered regarding approval of a plan of

   allocation and the motion of Lead Counsel for an award of attorneys’ fees and

   Litigation Expenses. Such orders shall in no way affect or delay the finality of this

   Judgment and shall not affect or delay the Effective Date of the Settlement.

         17.    Modification of the Agreement of Settlement – Without further

   approval from the Court, Lead Plaintiffs and Defendants are hereby authorized to

   agree to and adopt such amendments or modifications of the Stipulation or any

   exhibits attached thereto to effectuate the Settlement that: (a) are not materially

   inconsistent with this Judgment; and (b) do not materially limit the rights of

   Settlement Class Members in connection with the Settlement. Without further order

   of the Court, Lead Plaintiffs and Defendants may agree to reasonable extensions of

   time to carry out any provisions of the Settlement.

         18.    Termination of Settlement – If the Settlement is terminated as

   provided in the Stipulation or the Effective Date of the Settlement otherwise fails to

   occur, this Judgment shall be vacated and rendered null and void, and shall be of no

   further force and effect, except as otherwise provided by the Stipulation, and this




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   Judgment shall be without prejudice to the rights of Lead Plaintiffs, the other

   Settlement Class Members, and Defendants, and Lead Plaintiffs and Defendants

   shall revert to their respective positions in the Action as of April 18, 2023, as provided

   in the Stipulation.

         19.    Entry of Final Judgment – There is no just reason to delay the entry

   of this Judgment as a final judgment in this Action. Accordingly, the Clerk of the

   Court is expressly directed to immediately enter this final judgment in this Action.

         DONE AND ORDERED in Miami, Florida this 12th day of November, 2024.



                                           _______________________________________
                                               The Honorable Jacqueline Becerra
                                                 United States District Judge




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                                    Exhibit 1

   List of Persons and Entities Excluded from the Settlement Class Pursuant
                                   to Request

       Name                                     City, State
  1.   Jennifer McManus                         Cottageville, SC

  2.   Laurel Connell                           Barrie, Ontario,
                                                Canada
  3.   Malta Pension Investments                St. Julians, Malta

  4.   Elizabeth Finsterwalder                  Roselle, IL

  5.   Michael Finsterwalder                    Roselle, IL




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